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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


  United States of America,
                                                         Case No. 06-20465
           Plaintiff,
                                                         Honorable Nancy G. Edmunds
  v.

  Aref Nagi, D-1,

           Respondent.
                                            /

            ORDER ON GOVERNMENT’S SUPPLEMENTAL BRIEFING [2749]

       This matter comes before the Court on the parties’ supplemental briefing in light of

  the Sixth Circuit’s remand to this Court. Defendant Aref Nagi was convicted and sentenced

  for substantive RICO violations, RICO conspiracy, assault with a dangerous weapon in aid

  of racketeering, conspiracy to transport stolen property in interstate commerce, conspiracy

  to alter, remove and obliterate vehicle identification numbers, conspiracy to possess with

  intent to distribute controlled substances, and use of a firearm during, and in relation to, a

  crime of violence. The Sixth Circuit affirmed Defendant’s convictions on September 30,

  2013. On May 19, 2014, the Supreme Court granted Defendant’s petition for a writ of

  certiorari, vacated the judgment, and remanded to the Sixth Circuit for further consideration

  in light of Rosemond v. United States, 572 U.S. __, 134 S.Ct. 1240 (2014). The Sixth

  Circuit subsequently remanded to this Court on April 21, 2015.

       The Rosemond decision held that when accusing a defendant of aiding or abetting

  a violation of 18 U.S.C. § 924(c)—which prohibits using or carrying a firearm during and in

  relation to any crime of violence or drug trafficking—the government must prove “advance
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  knowledge that a confederate would use or carry a gun” and the jury instructions must

  include that the “defendant knew in advance that one of his cohorts would be armed.” 134

  S.Ct. at 1243.

       In light of this decision, the Government moves the Court to dismiss Defendant’s

  conviction and sentence for Count 31, “since the jury instructions did not include reference

  to ‘advance knowledge.’” (Dkt. 2749, at 2.) The Government concedes “there were simply

  not enough facts elicited on this record to determine whether or not it was harmless error

  that the jury instructions did not include the concept of ‘advance knowledge.’” (Id. at 3.)

  With this concession, the Government requests the Court dismiss Count 31 and re-issue

  a judgment affirming the other counts of conviction and sentences attendant to those

  counts. The Government argues this is appropriate because the Sixth Circuit’s remand was

  limited to the issue of whether the evidence still supports the 924(c) conviction after the

  Supreme Court’s decision in Rosemond. Defendant agrees Count 31 should be dismissed,

  but argues that the remand was general in nature, not limited. As such, at a minimum,

  Defendant seeks a hearing and re-sentencing in light of the Sixth Circuit’s general remand.

       The primary issue briefed by the parties and presently before the Court is whether the

  Sixth Circuit’s April 21 remand was general or limited in nature. “[A] district court is bound

  to the scope of the remand issued by the court of appeals.” United States v. Campbell, 168

  F.3d 263, 265 (6th Cir. 1999). Here, the remand order stated:

         In view of the Supreme Court’s judgment vacating and remanding to this
         court for further consideration in light of Rosemond v. United States, 572 U.S.
         ___, 134 S. Ct. 1240 (2014),

         And further in light of the parties’ response to the request for supplemental
         briefing,


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         It is ORDERED that this matter is remanded to the district court for further
         proceedings as appropriate in light of Rosemond.

  (Dkt. 2677.)

       It is well-established in this Circuit that a limited remand must “explicitly outline the

  issues to be addressed by the district court and create a narrow framework within which

  the district court must operate.” United States v. Campbell, 168 F.3d 263, 265 (6th Cir.

  1999). Appellate courts are to “leave no doubt in the district judge’s or parties’ minds as

  to the scope of the remand. The language used to limit the remand should be, in effect,

  unmistakable.” Id. at 268. General remands, on the other hand, “give district courts

  authority to address all matters as long as remaining consistent with the remand.” Id. at

  265. Importantly, “[i]n the absence of an explicit limitation, the remand order is

  presumptively a general one.” United States v. Moore, 131 F.3d 595, 598 (6th Cir. 1997).

  In addition, the Sixth Circuit has held that boilerplate language (such as “consistent with this

  opinion”) “does not satisfy any of the requirements necessary to establish a limited

  remand.” U.S. v. Obi, 542 F.3d 148, 154 (6th Cir. 2008).

       Applying the above principles, this Court concludes that the Sixth Circuit’s April 21

  order was a general remand. If the remand order was intended to limit the Court’s

  sentencing authority as the Government contends, it would have made that limitation

  evident and would not have issued a single-sentence order with boilerplate language. The

  phrase “this matter is remanded to the district court for further proceedings as appropriate

  in light of Rosemond” does not “explicitly outline issues to be addressed” nor unmistakably

  create a narrow framework within which the Court must operate. The Government points

  to Moore in support of its argument that the appellate order is limited, but its reliance on


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  Moore is misplaced. In contrast to the remand order here, the remand order at issue in

  Moore was narrowly drawn and explicitly limited the district court’s review to consideration

  of the defendant’s conviction under 18 U.S.C. § 924(c) and specifically to the issue whether

  the defendant “used or carried a firearm during and in relation to his drug trafficking

  offense.” Moore, 131 F.3d at 597. Here, in contrast, the order merely remands for

  “proceedings as appropriate in light of Rosemond.”

       For the reasons stated, the Court hereby GRANTS the parties’ request to DISMISS

  Count 31. The Court further GRANTS Defendant’s request for a hearing and re-sentencing

  on the remaining counts. The hearing is scheduled for April 25, 2016 at 2:00 p.m.

       SO ORDERED.


                       S/Nancy G. Edmunds
                       Nancy G. Edmunds
                       United States District Judge

  Dated: January 27, 2016

  I hereby certify that a copy of the foregoing document was served upon counsel of record
  on January 27, 2016, by electronic and/or ordinary mail.

                       S/Carol J. Bethel
                       Case Manager




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